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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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JENNY LEE,

                          Plaintiff,                                        Civil Action No.:

             -against-
                                                                            NOTICE OF REMOVAL
PANAGIOTIS SEMPEKOPOULO,

                                       Defendants.

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TO:     THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF NEW YORK

        Defendant, PANAGIOTIS SEMPEKOPOULOS, by his undersigned attorneys, file this

notice and petition this Court to remove the above-captioned case to the United States District

Court for the Eastern District of New York and respectfully show this Court:

        1.       A civil action was commenced on or about March 17, 2021, by JENNY LEE

(hereafter “Plaintiff”) against defendant PANAGIOTIS SEMPEKOPOULO by filing a Summons

and Complaint in the Supreme Court of the State of New York, Queens County. This action is

captioned Jenny Lee v. Panagiotis Sempekopoulo and bears State Court Index Number

706080/2021. A copy of the Summons and Complaint is annexed hereto as Exhibit A. In sum,

this civil action alleges personal injuries sustained in a motor vehicle accident that occurred on

January 11, 2020 on Willets Point Blvd., Queens, NY.

        2.       On May 26, 2021, the Defendant served a Verified Answer, a copy of which is

annexed as Exhibit “B.” Simultaneously, Defendants served a Demand for Ad Damnum, a copy

of which is annexed as Exhibit “C.” On June 17, 2021, Plaintiff responded to the Demand for Ad




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Damnum, a copy of which is annexed as Exhibit “D.” In Plaintiff’s Response to the Demand for

Ad Damnum, Plaintiff conveyed her demand of $225,000. Id.

        3.        As Plaintiff served her response to Defendant’s Demand for Ad Damnum on June

17, 2021, first conveying her demand in excess of $75,000.00, this motion is timely pursuant to 28

U.S.C. § 1446(b)(1).

        4.        Plaintiff seeks damages for personal injuries allegedly caused by the Defendant’s

negligence in the amount of $225,000. Accordingly, the amount in controversy in this suit is in

excess, exclusive of interest and costs, of $75,000. See 28 U.S.C. § 1332 (a).

        5.        There is complete diversity of citizenship between the plaintiff and the defendants:

               a. From the date of the alleged incident on January 11, 2020 through present, Plaintiff

                  Jenny Lee has been a resident and domiciliary of the State of New York residing at

                  147-12 28 Avenue, Flushing, NY 11354. See Plaintiff’s Bill of Particulars at ⁋ 1,

                  annexed hereto as Exhibit F.

               b. From the date of the alleged incident on January 11, 2020 through present,

                  defendant PANAGIOTIS SEMPEKOPOULOS has been a resident of Canada

                  residing at 12203 Taylor Blvd, Montreal, QC H3M 2K1.

        6.        Because there is complete diversity of citizenship and the amount in controversy

exceeds $75,000, this action is one over which the United States District Court has original

jurisdiction pursuant to 28 U.S.C. § 1332. Therefore, the action can be removed to this Court

pursuant to 28 U.S.C. § 1441.

        7.        Written filing of this motion will be given to the plaintiff promptly after the filing

of this motion, as required by law.




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        8.     A true and correct copy of this motion will be filed with the Clerk of the Supreme

Court of the State of New York, Queens County promptly after the filing of this motion, as is

required by law.

        9.     Attached to this motion, and by reference made a part hereof, are true and correct

copies of all process, pleadings and orders filed in the aforesaid action as required by 28 USC §

1446(a). A copy of the Preliminary Conference Order is annexed as Exhibit “E.” Copies of

plaintiff’s Verified Bill of Particulars are annexed hereto as Exhibit “F.”

        10.    By filing this Notice of Removal, Defendant does not waive any defense which

may be available to him, specifically including, but not limited to, his right to contest in personam

jurisdiction over the petitioners, improper service of process upon the them, and the absence of

venue in this Court or in the court from which the action has been removed.


        WHEREFORE, Defendant prays that this action be removed to this Court and proceed in

this Court as an action properly removed thereto.


Dated: White Plains, New York
       June 30, 2021

                                                      Yours, etc.

                       WILSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP

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